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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


CINDY GAMRAT,

         Plaintiff,                            Case No. 1:16−cv−01094−GJQ−PJG

   v.                                          Hon. Gordon J. Quist

EDWARD MCBROOM, et al.,

         Defendants.
                                        /



                            NOTICE OF HEARING


TAKE NOTICE that a hearing on the following motion(s) has been rescheduled
as set forth below:


                       Motion to Dismiss/Failure to State a Claim − #23
Motion(s):             Motion to Dismiss/Lack of Jurisdiction − #43
                       Motion to Dismiss − #45
                       March 5, 2018 02:00 PM
Date/Time:             (previously set for 1/29/2018)
Judge:                 Gordon J. Quist
Place/Location:        499 Federal Building, Grand Rapids, MI




                                            GORDON J. QUIST
                                            United States District Judge

Dated: January 24, 2018           By:        /s/ Jane M. Tepper
                                            Judicial Assistant
